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FOR THE DISTRICT OF NEW MEXICO JAN 24 202
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UNITED STATES OF AMERICA, .
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Plaintiff,
NO. 19-CR-01439-WJ

vs.

TURAB LOOKMAN,

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Defendant.

PLEA AGREEMENT

Pursuant to Rule 11, Fed. R. Crim. P., the parties notify the Court of the following
agreement between the United States Attorney for the District of New Mexico, the Defendant,
TURAB LOOKMAN, and the Defendant’s counsel, Paul Linnenburger.

REPRESENTATION BY COUNSEL

1. The Defendant understands the Defendant’s right to be represented by an attorney
and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the
Defendant’s attorney and is fully satisfied with that attorney’s legal representation.

RIGHTS OF THE DEFENDANT
2. The Defendant further understands the Defendant’s rights:

a. to be charged by indictment by a grand jury;

b. to plead not guilty, or having already so pleaded, to persist in that plea;
c. to have a trial by jury; and
d. at a trial:

1) to confront and cross-examine adverse witnesses,
2) to be protected from compelled self-incrimination,
3) to testify and present evidence on the Defendant’s own behalf, and
4) to compel the attendance of witnesses for the defense.
WAIVER OF RIGHTS AND PLEA OF GUILTY
3. The Defendant agrees to waive these rights and to plead guilty to Count 2 of the

Indictment, charging violations of 18 U.S.C. § 1001(a)(2), that being false statements.

SENTENCING
4. The Defendant understands that the maximum penalty the Court can impose is:
a. imprisonment for a period of not more than 5 years;

b. a fine not to exceed the greater of $250,000;

c. a mandatory term of supervised release of not less than three (3) years (If
the defendant serves a term of imprisonment, is then released on supervised release, and violates
the conditions of supervised release, the defendant's supervised release could be revoked--even
on the last day of the term--and the defendant could then be returned to another period of
incarceration and a new term of supervised release.); and

d. a mandatory special penalty assessment of $100.00.

5. The parties recognize that the federal sentencing guidelines are advisory, and that
the Court is required to consider them in determining the sentence it imposes.

6. The United States reserves the right to make known to the United States Pretrial
Services and Probation Office and to the Court, for inclusion in the presentence report to be

prepared under Federal Rule of Criminal Procedure 32 any information the United States
believes may be helpful to the Court, including but not limited to information about any relevant
conduct under U.S.S.G. § 1B1.3.
ELEMENTS OF THE OFFENSE
7. If this matter proceeded to trial, the Defendant understands that the United States
would be required to prove, beyond a reasonable doubt, the following elements for violation of

18 U.S.C. § 1001(a)(2) that being false statements:

First: that Defendant made a false statement or representation to the
government;

Second: that Defendant made the statement knowing it was false;

Third: that Defendant made the statement willfully, that is, deliberately,

voluntarily and intentionally;
Fourth: that the statement was made in a matter within the jurisdiction of the
executive branch of the United States; and
Fifth: the statement was material.
DEFENDANT’S ADMISSION OF FACTS
8. By my signature on this plea agreement, I am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize
and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge
that if I chose to go to trial instead of entering this plea, the United States could prove facts
sufficient to establish my guilt of the offense(s) to which J am pleading guilty beyond a

reasonable doubt, including any facts alleged in the indictment that increase the statutory
minimum or maximum penalties. I specifically admit the following facts related to the charges
against me, and declare under penalty of perjury that all of these facts are true and correct:

a. On or about June 6, 2018, in Los Alamos County, in the District of New
Mexico, the defendant, in a matter within the jurisdiction of the Department of Energy, an
agency within the executive branch of the United States, I did knowingly and willfully make and
cause to be made a materially false statement and representation, knowing such statement and
representation to be false, fictitious and fraudulent, by answering “No” to a question posed to me
by a Los Alamos National Laboratory Counterintelligence Officer, “Have you ever been
recruited by or applied for a job (for personal compensation), either full or part-time, as a
consultant/academic/collaborator/ adjunct, underwritten by the PRC and/or the Thousand Talents
Program, or any company or university within China?” The statement and representation were
false because, as I then and there well knew, I had been recruited by, applied for, and been
accepted to participate in China’s Thousand Talents Program to collaborate for personal
compensation.

9. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime(s) to which the Defendant is pleading guilty. The Defendant agrees
that the Court may rely on any of these facts, as well as facts in the presentence report, to
determine the Defendant’s sentence, including, but not limited to, the advisory guideline offense

level.
RECOMMENDATIONS

10. Pursuant to Rule 11(c)(1)(B), the United States and the Defendant recommend as

follows:
a. As of the date of this agreement, the Defendant has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. Consequently, pursuant to USSG § 3E1.1(a), so long as the Defendant continues to
accept responsibility for the Defendant’s criminal conduct, the Defendant is entitled to a
reduction of two levels from the base offense level as calculated under the sentencing
guidelines, and if applicable, a reduction of an additional offense level pursuant to USSG §
3E1.1(b).

b. Further, the United States is free to withdraw this recommendation if the
Defendant engages in any conduct that is inconsistent with acceptance of responsibility between
the date of this agreement and the sentencing hearing. Such conduct would include committing
additional crimes, failing to appear in Court as required, and/or failing to obey any conditions of
release that the Court may set.

c. The United States agrees that it will not recommend a sentence above 10
months’ imprisonment, which the United States calculates as the low end of the applicable
advisory guidelines range.

d. The Defendant understands that the above recommendations are not binding
on the Court and that whether the Court accepts these recommendations and stipulations is a
matter solely within the discretion of the Court after it has reviewed the presentence report.
Further, the Defendant understands that the Court may choose to vary from the advisory
guideline sentence. If the Court does not accept any one or more of the above recommendations
and stipulations and reaches an advisory guideline sentence different than expected by the

Defendant, or if the Court varies from the advisory guideline range, the Defendant will not seek
to withdraw the Defendant’s plea of guilty. In other words, regardless of any of the parties’
recommendations and stipulations, the Defendant’s final sentence is solely within the discretion
of the Court.

11. Apart from the recommendations set forth in this plea agreement, the United
States and the Defendant reserve their rights to assert any position or argument with respect to
the sentence to be imposed, including but not limited to the application of factors in 18 U.S.C.

§ 3553(a), including the applicability of downward variances from the applicable advisory
guidelines range.

12. Regardless of any other provision in this agreement, the United States reserves the
right to provide to the United States Pretrial Services and Probation Office and to the Court any
information the United States believes may be helpful to the Court, including but not limited to
information about the recommendations contained in this agreement and any relevant conduct
under USSG § 1B1.3.

DEFENDANT’S ADDITIONAL AGREEMENT

13. The Defendant understands the Defendant’s obligation to provide the United
States Pretrial Services and Probation Office with truthful, accurate, and complete information.
The Defendant represents that the Defendant has complied with and will continue to comply with
this obligation.

14. Except under circumstances where the Court, acting on its own, fails to accept
this plea agreement, the Defendant agrees that, upon the Defendant’s signing of this plea
agreement, the facts that the Defendant has admitted under this plea agreement as set forth

above, as well as any facts to which the Defendant admits in open court at the Defendant’s plea
hearing, shall be admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A)
in any subsequent proceeding, including a criminal trial, and the Defendant expressly waives the
Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the Defendant admits in conjunction with this plea agreement.

15. The Defendant agrees that, upon the Defendant’s signing of this plea agreement,
the facts that the Defendant has admitted under this plea agreement as set forth above, as well as
any facts to which the Defendant admits in open court at the Defendant’s plea hearing, shall be
admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any
subsequent proceeding, including a criminal trial, and the Defendant expressly waives the
Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the Defendant admits in conjunction with this plea agreement.

16. By signing this plea agreement, the Defendant waives the right to withdraw the
defendant’s plea of guilty pursuant to Federal Rule of Criminal Procedure 11(d). The Defendant
may only withdraw the guilty plea in the event the court rejects the plea agreement pursuant to
Federal Rule of Criminal Procedure 11(c)(5). Furthermore, Defendant understands that if the
court rejects the plea agreement, whether or not Defendant withdraws the guilty plea, the United
States is relieved of any obligation it had under the agreement and Defendant shall be subject to
prosecution for any federal, state, or local crime(s) which this agreement otherwise anticipated
would be dismissed or not prosecuted.

WAIVER OF APPEAL RIGHTS
17. The Defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a

defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
Defendant knowingly waives the right to appeal the Defendant’s conviction(s) and any sentence,
including any fine, at or under the maximum statutory penalty authorized by law. In addition,
the Defendant agrees to waive any collateral attack to the Defendant’s conviction(s) and any
sentence, including any fine, pursuant to 28 U.S.C. §§ 2241, 2255, or any other extraordinary
writ, except on the issue of defense counsel’s ineffective assistance.
GOVERNMENT’S ADDITIONAL AGREEMENT

18. Provided that the Defendant fulfills the Defendant’s obligations as set out above,
the United States agrees that it will not bring additional criminal charges against the Defendant
arising out of the facts forming the basis of the present indictment.

19. Upon sentencing, the United States will dismiss counts 1 and 3 of the Indictment.

20. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.

VOLUNTARY PLEA

21. | The Defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats, or promises (other than the promises set
forth in this agreement and any addenda). There have been no promises from anyone as to what
sentence the Court will impose. The Defendant also represents that the Defendant is pleading
guilty because the Defendant is in fact guilty.

VIOLATION OF PLEA AGREEMENT
22. The Defendant agrees that if the Defendant violates any provision of this

agreement, the United States may declare this agreement null and void, and the Defendant will
thereafter be subject to prosecution for any criminal violation, including but not limited to any
crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false
statement, obstruction of justice, and any other crime committed by the Defendant during this
prosecution.
SPECIAL ASSESSMENT

23. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico
87102, a money order or certified check payable to the order of the United States District Court
in the amount of $§00.00 in payment of the special penalty assessment described above.

oly! ENTIRETY OF AGREEMENT

24. This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in writing and signed by all parties. This agreement

is effective upon signature by the Defendant and an Assistant United States Attorney.

AGREED TO AND SIGNED this3y day of “SUNUQ pa , 2020.
JOHN C. ANDERSO

United States Attorney

atts KRAEHE

Assistant United States Attorney
Post Office Box 607

Albuquerque, New Mexico 87102
(505) 346-7274
I have carefully discussed every part of this agreement with my client. Further, I have
fully advised my client of my client’s rights, of possible defenses, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of the relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. To my knowledge, my client’s decision to enter
into this agreement is an informed and voluntary one.

 

PAUL LINNEMNBURGER
Attomey for the Defendant

I have carefully discussed every part of this agreement with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me
of my rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of
the relevant Sentencing Guidelines provisions, and of the consequences of entering into this

agreement.
Tha

TURAB LOOKMAN
Defendant

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